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                        UNITED STATES DISTRICT COURT
14                     NORTHERN DISTRICT OF CALIFORNIA
15
     MOBILE NETWORKING                        Case No.: 5:17-cv-05999-BLF
16   SOLUTIONS, LLC,
                   Plaintiff                  STIPULATION OF VOLUNTARY
17                                            DISMISSAL WITH PREJUDICE
18   vs.
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     MAPR TECHNOLOGIES, INC.,
20               Defendant
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                  Case 5:17-cv-05999-BLF Document 68 Filed 12/28/17 Page 2 of 3




1            Plaintiff Mobile Networking Solutions, LLC (“Plaintiff”) and Defendant
2    MapR Technologies, Inc. (“Defendant”) hereby stipulate pursuant to Fed. R. Civ.
3    P. 41(a)(1)(A)(ii) that the above-captioned action is voluntarily dismissed with
4    prejudice as follows:
5            1.      Plaintiff hereby dismisses with prejudice its claims against Defendant;
6            2.      Defendant hereby dismisses with prejudice its counterclaims against
7    the Plaintiff; and
8            3.      Each of Plaintiff and Defendant shall bear its own costs and attorneys’
9    fees.
10
     Dated: December 28, 2017                         Respectfully submitted,
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12
      PERKINS COIE LLP                                ONE LLP
13
     By: /s/ Amy E. Simpson                           By: /s/ Stephen M. Lobbin
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1                                             ORDER

2          Having considered the stipulation of the parties set forth above, and good
3    cause therefrom appearing,
4          IT IS HEREBY ORDERED:
5          This case is dismissed with prejudice, with each party hereto to bear its own
6    costs and expenses.
7
8    Dated:                                ______________________________
                                           HONORABLE BETH LABSON FREEMAN
9                                          UNITED STATES DISTRICT JUDGE
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